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                          UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


ALENA KRILEY,                               ) CASE NO. 22 CV 04832
                                            )
                    Plaintiff,              )
                                            )
vs.                                         ) ASSIGNED JUDGE: Martha M. Pacold
                                            ) MAGISTRATE JUDGE: Jeffrey Cole
PAUL KRILEY,                                )
                                            )
                    Defendant.              )


                         JOINT STATUS REPORT




                             Respectfully submitted,

                                    /s/ Scott Ferrill
                                 Attorney for Plaintiff

                                      /s/ Jason G. Shore
                                    Attorney for Defendant
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                                          JOINT INITIAL STATUS REPORT
      1.   The Nature of the Case:


      A.   Identify (names and contact information) for all attorneys of record for each party, including
           the lead trial attorney.


           Plaintiff:
           Ferrill Law Firm
           Scott Ferrill — Lead Trial Attorney
           801 North Cass Avenue
           Suite 200
           Westmont, IL 60559
           chicagolaw@gmail.com
           708-369-1958
           Fax 877-398-7890

           Defendant:
           STERN PERKOSKI MENDEZ
           Jason G. Shore — Lead Trial Attorney
           1200 Jorie Blvd
           Suite 312
           Oak Brook, IL 60523
           ishore@steroperkoski.corn


      B.   Briefly describe the nature of the claims asserted in the complaint and any Counterclaims and/or
           third party claims.


           Lawsuit for immigration financial support under the United States and Immigration Services
           Form 1-864, Affidavit of Support.

      C.   Briefly identify the major legal and factual issues in the case.


           None


      D.   State the relief sought by any of the parties.


           Plaintiff: Award of Damages, Declaration of entitlement to continued financial support,
           Order for Specific Performance of monthly payment, and an award of plaintiff's attorney
           fees.
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   2. Jurisdiction: Explain why the Court has subject matter jurisdiction over the plaintiff(s)'
   claim(s).

       A.   Identify all federal statutes on which federal question jurisdiction is based.


            Immigration and Nationality Act 8 U.S.C. Sec. 1183a(e)(1) and 1183a(a)(1)(c).


       B.   If jurisdiction over any claims is based on diversity or supplemental jurisdiction:


            (1) State whether/why the amount in controversy exceeds the jurisdictional threshold or
                whether there is a dispute regarding the amount in controversy (and, if so, the basis of
                that dispute).


            (2) Identify the state of citizenship of each named party. For unincorporated associations,
                LLC's, partnerships and other business entities that are not corporations, the state(s) in
                which any individual members of the business unit are citizens must be identified.


                NOTE 1: Individuals are citizens of the state where they are domiciled; that may or may
                not be the state where they currently reside. See Heinen v. Northrop Grumman Corp.,
                671 F.3d 669 (7th Cir. 2012).


                NOTE 2: The report must address whether there is diversity in any case in which
                pendent jurisdiction over state law claims is asserted, so that the Court may
                exercise informed discretion about whether to resolve such claims in the event that
                the federal question claims are resolved or dismissed.


   3. Status of Service: Identify any defendants that have not been served.
   None.
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  4. Consent to Proceed Before a United States Magistrate Judge: Confirm that counsel have advised the
  parties that they may proceed before a Magistrate Judge if they consent unanimously and advise
  whether there is, or is not, unanimous consent. Do NOT report whether individual parties have so
  consented.


  Counsels have advised that the parties may proceed before a Magistrate Judge if consented to
  unanimously. There is not unanimous consent to proceed before a Magistrate Judge.


  5. Motions:


     A.   Briefly describe any pending motions. None.


     B.   State whether the defendant(s) anticipate responding to the complaint by filing an
          Answer or by means of motion. Answer and Affirmative Defenses filed.


          NOTE 3: If the latter, counsel should be prepared to discuss at the Initial Status Hearing the
          basis of the anticipated motion.


  6. Status of Settlement Discussions:


     A.   Indicate whether any settlement discussions have occurred; No


     B.   Describe the status of any settlement discussions; and N/A


     C.   Whether the parties request a settlement conference. Yes
